






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00570-CR







Allen Stephen Priest, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF WILLIAMSON COUNTY


NO. 05-4579-1, HONORABLE SUZANNE BROOKS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant Allen Stephen Priest guilty of driving while intoxicated. 
See&nbsp;Tex. Penal Code Ann. § 49.04 (West 2003).  The jury assessed punishment at 180 days'
incarceration and a $2,000 fine.

Appellant's court-appointed attorney filed a brief concluding that the appeal
is&nbsp;frivolous and without merit.  The brief meets the requirements of Anders v. California,
386&nbsp;U.S.&nbsp;738 (1967), by demonstrating that the only arguable contentions that might support the
appeal are ultimately without merit.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573&nbsp;S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);  Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.




				__________________________________________

				Bob Pemberton, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed

Filed:   November 14, 2007

Do Not Publish


